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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSUCHUSETTS

__________________________________________
                                          )
In re:                                    )                  Case No. 12-40944 (MSH)
                                          )
SOUTHERN SKY AIR & TOURS, LLC             )                  Chapter 7
D/B/A DIRECT AIR,                         )
                                          )
                  Debtor.                 )
__________________________________________)

              MOTION BY THE UNITED STATES TO APPEAR
     TELEPHONICALLY AT THE HEARING SCHEDULED FOR AUGUST 7, 2013

TO THE HONORABLE COURT:

       Andrea Horowitz Handel, Trial Attorney for the United States Department of Justice,

Civil Division, on behalf of the United States, respectfully states and prays as follows:

       1.      On June 24, 2013, the Trustee of the bankruptcy estate of Southern Sky Air &

Tours, LLC d/b/a Direct Air filed a motion for, among other things, an order approving charter

participant claim reconciliation process (Docket No. 360).

       2.      The Court has scheduled a hearing on this motion for August 7, 2013 at

10:00 a.m. (Docket No. 366).

       3.      My office is located in Washington, D.C. and I respectfully request permission to

appear by telephone at the hearing.

       WHEREFORE, Andrea Horowitz Handel respectfully requests that the Court enter an

order allowing her to appear telephonically at the hearing scheduled for August 7, 2013 at 10:00

a.m. and grant such further relief as deemed necessary.
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July 24, 2013                                       Respectfully submitted,

                                                    STUART F. DELERY
                                                    Acting Assistant Attorney General

                                                    Christopher R. Donato
                                                    Assistant United States Attorney
                                                    BBO #628907
                                                    John Joseph Moakley Courthouse
                                                    1 Courthouse Way, Suite 9200
                                                    Boston, MA 02210
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                                                    /s/Andrea Horowitz Handel
                                                    J. CHRISTOPHER KOHN
                                                    TRACY J. WHITAKER
                                                    ANDREA HOROWITZ HANDEL
                                                    Civil Division
                                                    Department of Justice
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                                                    Attorneys for the United States



                                      Certificate of Service

       I hereby certify that a copy of the foregoing document has been served by electronic mail

on all parties on the Court’s ECF system this 24th day of July 2013.



                                                    /s/ Andrea Horowitz Handel
                                                    Andrea Horowitz Handel




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